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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


ELIZABETH FREDERICK,

      Plaintiff,

v.                                       Case No. 4:19-cv-162-MW-MAF

MISTY ROBERTSON,

      Defendant.


 PLAINTIFF’S UNOPPOSED MOTION FOR WRIT OF HABEAS
  CORPUS AD TESTIFICANDUM AS TO BRITTANY KNIGHT

     Plaintiff Elizabeth Frederick, by and through her counsel,

respectfully moves the Court for an order directing the issuance of a

writ of habeas corpus ad testificandum to secure the attendance of

Brittany Knight (DC# N32297)—one of Plaintiff’s witnesses for the

upcoming trial in this case scheduled for October 11, 2022. [D.E. 129].

     Specifically, Ms. Knight—who was confined in the Leon County

Jail with Jennifer Casey Norred—is currently in the custody of the

Florida Department of Corrections. To secure her presence at the

upcoming trial, it is necessary that a writ of habeas corpus ad

testificandum be issued commanding the warden or supervisor of
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Gadsden Correctional Facility, 6044 Greensboro Highway, Quincy,

Florida 32351, and the U.S. Marshals to produce Ms. Knight at the

United States Courthouse, 111 North Adams Street, Tallahassee,

Florida 32301 on October 11, 2022, at 8:15 a.m. eastern time.

     Defendant does not oppose the relief requested herein.

     WHEREFORE, Plaintiff respectfully requests that the Court issue

a writ of habeas corpus ad testificandum, directing the Florida

Department of Corrections and the warden at Gadsden Correctional

Facility to take Ms. Knight into custody and transport her to the federal

courthouse in Tallahassee for the trial in this case, and upon completion

of the same return her to the custody of her warden.

Dated: September 15, 2022.

                                       Respectfully submitted,

                                       LAW OFFICE OF JAMES COOK

                                       /s/ James V. Cook
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                                            -and-


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                                        SLATER LEGAL PLLC

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                                        Attorneys for Plaintiff


                    CERTIFICATE OF SERVICE

     I hereby certify that on September 15, 2022, I electronically filed

the foregoing document with the Clerk by using the CM/ECF system,

which will serve a copy on all counsel of record.

                                          By: /s/ James M. Slater
                                               James M. Slater

         CERTIFICATE OF GOOD FAITH CONFERENCE

     Pursuant to Local Rule 7.1(B), Plaintiff's counsel has conferred in

good faith with counsel for Defendant by telephone on September 14,

2022. Defendant does not oppose the relief requested herein.

                                          By: /s/ James M. Slater
                                               James M. Slater




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           CERTIFICATION PURSUANT TO L.R. 7.1(F)

     Pursuant to Local Rule 7.1(F), I hereby certify that the foregoing

document contains fewer than 250 words, inclusive of headings but

exclusive of the case style, signature block and certificates.


                                         By: /s/ James M. Slater
                                              James M. Slater




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